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    JA N E DO E 1 and JA NE D O E 2                                                 ir x
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       JA N E D O E 1 A ND JAN E D O E 2'S R ESPO N SE IN O PPO SITIO N T O EPSTEIN 'S
                M O TIO N FO R A PR O TEC TIV E CO NFID EN TIA LITY O R D ER

           COME NOW Jane Doe 1and Jane Doe 2 (also referred to as Gtthe victims'') by and
    through undersigned counsel, to file this response in opposition to Epstein's M otion for a

    Protective Contidentiality Order(DE 247). Epstein'smotion is a thinly-disguised attemptto
    relitigateissuesalreadycoveredbythecourt'searlierrulingelevenmonthsago(DE 188),which
    allow ed the victim s to file correspondence relating to Epstein'snon-prosecution agreem entin the

    public courtfile. Ratherthan reverse its previous ruling,this Courtshould reaftinn it- and

    allow the im portantissuespresented by thiscase to be litigated in the lightofday.

                                           BA C K G RO UN D

           Because ofEpstein'spenchantforrelitigating issuesthathave already been decided,itis

    necessary to recountthe litigation thathasalready gone on in thiscase regarding confidentiality,

    includingtheCourt'sdirectivein DE 188allowing filing ofm aterialsin thepubliccourtfile.

           On M arch 21, 2011,the victim s filed what was essentially a M otion For Summ ary

    Judgment in this case, explaining why (in their view) the Government had violated its
    obligationsunderthe CrimeVictims'RightsActICVRAIto notify them ofcourthearings,to
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    conferwiththem regarding pleadiscussions,andto treatthem with fairness. DE 48.Them otion

    contained 53 alleged undisputed facts. Som e ofthose facts rested on correspondence between

    the prosecutors and Epstein's legaldefense team - correspondence thatthe victim s had received

    in 2010 as partof a civilcase against Epstein (hereinafter referred to as the tQ010 plea
    correspondence'). Because the victims were aware thatEpstein objected to the use ofthis
    correspondence,they filed aredacted copy oftheirpleadinginthe open courtfile- i.e.,a copy in

    which thequotationsfrom the2010 correspondencehad been blacked out.They simultaneously

    filed a m otion to use that conrspondence in this case and to place an unredacted copy of the

    summaryjudgmentmotion andattachedcorrespondenceintheopen courtfile.DE 51.OnApril
    7,2011,the Governm enttiled a partialopposition to the victim s'm otion. DE 60. On M ay 2,

    2011,thevictims'replied to thisresponse DE 74.

           M eanwhile,on April7,2011,tllree ofEpstein'scrim inaldefense attorneys- Roy Black,

    Jay Letkowitz,and M artin W einberg - filed am otion to intenrene in thiscaseforthe purpose of

    challenging the victims'm otion to use the correspondence and to place an unredaded copy of

    the summary judgmentmotion and attached correspondence in the courtfile. DE 56 at4
    (challengingvictims'motion,DE 51). On M ay2,2011,thevictimsresponded in oppositionto
    the m otion to intervene. D E 78. On M ay 2,2011,the three defense attorneys replied in support

    oftheir intervention m otion. DE 80.

           On A ugust 12, 2011, this Court held a hearing on the various pending m otions, and

    during the hearing raised variousquestionsaboutwhetherthe defense attorneyswere the proper

    intervenorson issuesofconfidentiality. Shortly afterthehearing,on Septem ber2,2011,Epstein

    tsled a motion for limited intervention on issues relating to a protective order for the

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    correspondence.DE 93. H is pleading included,as Exhibit 1,a proposed m otion fora protective
    order regarding the correspondence thathe intended to tile if granted leave to intervene. DE 93,

    Exhibit1.On September16,2011,thevictimsfiledaresponseinobjectiontoEpstein'smotion.
    DE 96;the Governm entresponded asw ell. D E 98.

           On September26,2011,theCourtentered an orderallowing discovery to m ove fonvard

    in the case. DE 99. In Septem berand October,furtherbriefing continued on the intervention

    m otions. DE 100,106,108,115.

           On M arch 29,2013,thisCourtgranted both them otion to intervene filed by Epstein and

    the m otion to intervene filed by Epstein's three defense attorneys. DE 158, DE 159.

    Accordingly,on April17,2012,Epstein and histhree defense attorneysboth filed m otionsfora

    protective order. D E 161,162. The victim s responded in opposition.D E 167. Epstein and his

    attonw ysreplied. D E 169.

           On June 18,2013,the Courtsided w ith the victim s on a11the confidentiality issues. D E

    188. The Courtexpressly rejected a11ofthe argumentsby Epstein and hisattomeysfornot
    releasing the coa espondence publicly. The Courtbegan;ttA tthe outset,the courtobserves that

    the intervenors'privilege objectionsto publicrelease ofthe correspondence in question were
    previouslyrejectedbyM agistrateJudgeLilmeaJolmsoninadiscoveryorderenteredinaparallel
    civillaw suit....'' D E 188 at3. The Courtsaw ûûno reason to revisit''thatruling. 1d.at4. The

    Courtthenrejected alloftheintervenors'çtprivilege''argumentsaboutwhy the materialswere
    confidential. TheCourtconcluded thatthem aterialsshould no long bekeptunderseal:

           Accordingly,the courtrejectstheprivilegesasserted by intervenorsasbasesfor
           m aintaining the correspondence and related pleadings incorporating the
           correspondence under seal in this proceeding. Finding the asserted privileges
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           inapplicable,the courtfinds no legitim ate com pelling interestw hich w arrantsthe
           continued suppression of this evidentiary m aterial under seal in this proceeding.
           Seegenerally United States v.Ochoa-vasquez,428 F.3d 1015 (11th Cir.2005)
           (reversing ordersealing documentin dl'
                                                ug trafficking conspiracy prosecution in
           order to protect cooperating defendants and confidential inform ants where
           unsupported by record finding to rebut presllm ption of opelm ess of court
           proceedings), and shall therefore grant petitioners' motion to unseal the
           convspondence. W hilethe courtshallalso grantthe petitioners'm otion to use the
           evidence as proof of alleged CVIIA violations to the extent it shall allow
           petitionersto profferthe evidence in supportoftheirCVRA claim s,thisorderis
           not intended to operate as a nzling on the relevance or admissibility of any
           particularpiece ofcorrespondence,a m atterexpressly reserved fordetermination
           atthe tim e offinaldisposition.

    DE l88 at 9-10. The Court then entered the language that is central to this notice: ûi-l-he

    (victimsjare directed to file unredacted pleadings,including attached correspondence,in the
    opencourthle.However,beforeplacingthematerialsinthecourtfile,petitionersaredirectedto
    carefully review each page of the correspondence in question and to gmake appropriate
    redactionsforvictim namesand otheridentifying informationl....The petitioners shallfile
    unredacted pleadings in the court file in conformity with the above prescriptions within

    TW ENTY (20)DAYSfrom thedateofentryofthisorder.DE 188at10(enteredJune 18,2013)
    (emphasisadded). On thesameday,the CourtdeniedtheGovernment'smotion to dismissthe
    case and directed thatdiscovery proceed. D E 189.

           Epstein and his attorneys quickly soughta stay of the ruling from this Court. DE 193.

    They also filed noticesofappealwith the Eleventh Circuit. On July 8,2013,the Courtdenied

    the request for a stay,but granted a tem porary stay to allow the Eleventh Circuitto review the

    issue. DE 206. On Septem ber23,2013,the Eleventh Circuitentered a stay pending itsreview

    ofthe matter. Following briefing and argum ent,on April18,2014,the Eleventh Circuitruled in

    favorofthe victims,affirmed thisCourt'sdecision,and simultaneously lifted itsstay.JaneDoe

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    No.1 v. United States,---F.3d---,2014 W L 1509015,N o.13-12923 at23. The Circuitexplained

    thatGtlajlthough plea negotiationsarevitalto the functioning ofthe criminaljustice system,a
    prosecutorand targetofacriminalinvestigation do notenjoy a relationship ofconfidence and
    trustwhen they negotiate.Theiradversarialrelationship,unlike the confdentialrelationship ofa

    doctor and patient or attorney and client, warrants no (newl privilege
    Slip op.at21-22.

           On A pril24,2014,Epstein and his attorneys soughta stay ofthe Eleventh Circuit's order

    pending review of a petition for rehearing en banc. The nextday,the Eleventh Circuit denied

    thatstay.

           On M ay 2, 2014, the U .S. A ttorney's O ftk e provided 541 pages of correspondence

    betw een prosecutors and Epstein's defense attom eys that lead up to Epstein's non-prosecution

    agreement(hereinafterreferredtoasthe:12014 correspondence'l.l
           Thatsam e day,Epstein filed a m otion for a protective orderover the correspondence.D E

    247. Epstein specitically m oved the Courtto restrictdissem ination ofthe snme materialsthat

    this Courtand the Eleventh Circuit had both found to be non-confidential. Epstein asked the

    Courtto enter'
                 .

           a Protective Confidentially Orderwhich (1)limitsthe dissemination ofcertain
           ContidentialDiscoveryMaterial(:ûCDM '')describedbelow,toadesignatedlistof
           thePlaintiffs'counseland supportstaff,and (2)prohibitsany party from filing
           pleadings, bdefs, m em orandum s or exhibits purporting to reproduce, quote,


            1The Governmenthasfailed to produce a signitk antam ountofthe correspondence that
    the Court had directed it to produce. These failures do not involve isolated pieces of
    correspondence, but rather entire substantial categories. The victim s have requested this
    additional inform ation from the Governm ent and have been told,in essence,that it is being
    compiled. Thevictim sarepreparing an appropriatem otion to bring thesefailuresto the Court's
    attention and to requestappropriaterem edialaction.
                                                   5
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           paraphrase orsllm m arize any CD M or portions thereof,absentleave ofthe Court
           to iile the docum entorportion thereof under sealin accordance w ith LocalRules
           oftheUnited StatesDistrictCourtfortheSouthern DistrictofFlorida.

    DE         at           The alleged çtconfidential Discovery M aterial'' included the sam e

    correspondencethatwasatissuein DE 188. See DE 247,Exhibit1(proposingthattheCourt
    enter a protective order regarding çlall correspondence between the United States Attonwy's

    OfficeandtheIntervenors...thatwasthe subjectoftheCourt'sOrderofJune 18,2013 (Doc.
    188)....'').Epstein'snew motiondoesnotdiscusstheCourt'searlier(June18,2013)direction
    to the victimsto filetmredacted pleadingstand accompanying material)in the open courtfile.
    That sam e day, Epstein's counsel sent an e-m ail to victim s counsel stating that Epstein

    ûEwould askthatyou awaitarulingpriorto anydissem ination.''

           OnM ay 6,2014,thevictimsEledanoticeofintentto comply with Court'searlier(June
    18)direction to fileunredactedcopiesofthepleadingsin thefile.Thevictimsexplainedthatin
    lightofthelengthyproceduralhistoryjustrecounted,Gûalzd to avoid any confusion,the victims
    wanted to give notice thaton M ay 8,2014,they intend to com ply w ith the Court's Jtm e 18,2013,

    directive.'' D E 248.

           Thenextday,on M ay 7,2014,the Courtentered an orderregarding thenoticeofintentto

    com ply'
           .

           On April18,2014,the Eleventh Circuitaftirmed severalordersofthisCourt,and
           lifted the stay it had im posed in relation to one of the orders. How ever, no
           mandate has been issued thus far. Accordingly,petitioners should not comply
           with the Order Granting Petitioners' M otion to Proffer Govenunent
           Correspondence in Support of CVRA Claim s & Granting M otion to Unseal
           Correspondenceand RelatedUnredacted PleadingsofPetitioners(DE 188)until
           furtherorderofthisCourt.

    D E 249 at 1.

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           The CA II hasnotyetissued its m andate.

                                           A R G U M EN T

    1.     IT IS A LREA DY TH E GLA W O F TH E CA SE M TH AT M A TER IA L R ELA TIN G
           TO TH E N O N -PR O SEC U TIO N A G R EEM EN T CA N BE PR O FFER ED BY T H E
           VICTIM S IN PUB LIC CO UR T FILIN G S.

           IftheCourthasasenseofdéjàvuin reviewingEpstein'smotion foraprotectiveorder,it
    isbecausethe Courthasalready looked atthe same arguments- and rejected them. Asthe
    foregoing history m akesclear,the victim s previously m oved forleave to use the correspondence

    to proveviolation ofthenon-prosecution agreement. And theCourtagreed,subjectonlyto the
    reservation thatthe Courtwould determ ine the actualrelevance atthe appropriate hearing:

           Accordingly,the courtrejectstheprivilegesasserted by intervenorsasbasesfor
           maintaining the correspondence and related pleadings incorporating the
           correspondence tmder seal in this proceeding.Finding the asserted privileges
           inapplicable,thecourthndsno legitimatecompelling interestwhichwarrantsthe
           continuedsuppressionofthisevidentiary materialundersealin thisproceeding..
           . . W hi
                  le the courtshallalso grantthe petitioners' m otion to use the evidence as
           proofofalleged CVRA violationsto theextentitshallallow petitionersto proffer
           the evidence in support of their CV RA claim s, this order is not intended to
           operate as a ruling on the relevance or adm issibility of any particular piece of
           correspondence,a m atterexpressly reserved fordeterm ination atthe tim e oftinal
           disposition.

    DE 188at9-10(emphasisadded).Accordingly,theissuehasalreadybeen settledonce- andthe
    Courtshould notrevisitit. See United States v.Stinson,97 F.3d 466,469 (11th Cir.1996)
    (discussinglaw ofthecasedoctrinel;seealsoSinghv.George Washington Univ.,383F.Supp.2d
    99,101 (D.D.C.2009)(internalquotation omitted)(çtwherelitigantshaveoncebattled forthe
    court'sdecision,they should neitherbe required,norwithoutgood reason perm itted,to battle for

    -tagain.'').
    1
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           Itisthe 1aw ofthe case thatthe victim s can ttuse the evidence as proof ofalleged CV R A
    violations''and thatthere is Gûno legitim ate com pelling interest''supporting sealing the m aterial.z

    Epsteindoesnotevendiscussthispriorruling.Thatisreasonenoughtorejecthismotion.
    II.    EPSTEIN 'S PRO PO SED PR O TE CTIV E O R D ER W O UL D PR EV EN T TH E
           PUBLIC FR O M LEA R M N G A BO U T M A TTER S O F C O N SID ER ABLE PU BLIC
           CO N CER N .

           Even ifthe Courtw ere inclined to revisitthe issue,itshould reach the sam e conclusion it

    reached earlier:the victimspleadingsin thiscase should generally beplaced in the public court

    file.3 Itis importantto understand the breadth ofthe protective orderthatEpstein is seeking.

    Epstein pretends that his proposed order is a narrow one m erely lim iting the public access to

    discovery - citing various cases about w hether the public can dem and to have access to

    discovery produced in civilorcrim inalcases. DE 247 at6-7. Butthe protective order Epstein

    seeksto haveentered extendsfarm orebroadly and appearsto be specifcally designed to prevent

    the public from learning about the victim s argtlm ents in this case. In particular, Epstein's

    proposed orderprovides thatentire çtdoctlm ents''m ustbe sealed ifthey contain any reference to

    thepleacorrespondenceorotheralleged ûûconfidential''m aterial:

           ln theeventthat(avictimlintendstofile (pleacorrespondencelwith thecourtin
           supportof...anon-discoverymotion(e.g.,motionforsummaryjudgmentorany
           otherdispositive or substantive motion),the filing party shalltake appropriate

           2 To be precise, itisactually the law offwt?casesthatthe m aterialcan be released. See
    DE 188at3(çûAttheoutset,thecotu'tobservesthattheintervenors'privilegeobjectionstopublic
    releaseofthecorrespondence in question werepreviously rejected by M agistrateJudgeLinnea
    Jolmsoninadiscoveryorderenteredin aparallelcivillawsuit....'').
           3 The victim snote thattheirpleadingsshould tûgenerally''be placed in the public court
    tile,because there are few, specialized pieces of information that should be redacted before
    public filing - such asthenamesofsexualassaultvictims,grandjury infonnation,and private
    telephonenumbers.Thevictim sintend toperform such redactions,so those issuesarenotraised
    by Epstein'smotion foraprotectiveorder.
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          action to insure that the documents receive proper protection #om public
          disclosure and shall seek leave of Court to file the docum ent under seal in
          accordance with localrules.

    DE 247-1at5(emphasesadded).
           ln light of his request for sealing of çtdocum ents,''if the Courtw ere to grant Epstein's

    motion,the neteffect would be to essentially have the significant and critical parts of this

    litigation carried on in secret. Forexample,the public would be denied accessto the victim s'

    summaly judgmentmotion - a ttdocument''thatwillrely heavily on the correspondence and
    whichwilldemonstrate(thevictimsbelieve)acarefully orchestratedplanby Epstein tokeep his
    non-prosecution agreement hidden from the victim s and,more broadly the public. lndeed,it

    seemsclearthatthemajorityofdocumentsfiled inthiscasebythevidimsin thefuturewillrely
    to some extenton the underlying correspondence. IfEpstein'smotion isgranted,the docketin

    thecase willessentially becom eablack hole.

           ltisa fundamentalpremise ofAmerican criminaljustice thatthe public isentitled to
    know whathappensin a criminalcase. The Supreme Courthas repeatedly held thatçûltlhe
    knowledgethatevery criminaltrialissubjecttocontemporaneousreview intheforum ofpublic
    opinionisaneffectiverestraintonpossibleabuseofjudicialpower....''RichmondNewspapers,
    Inc., 448 U.S.555, 596 (1980) (internal quotation omitted). An open criminal process
    ûûassurels)the publicthatproceduralrightsare respected,and thatjustice isafforded equally,''
    whileontheotherhand sentencing withoutthepublicpresentEûbreedgs)suspicion ofprejudice
    and arbitrariness,which in ttlrlz spawns disrespectfor lam ''In re HearstNewspapers,L.L.C.,

    641F.3d 168,177(5th Cir.2011(quotingRichmond Newspapers,Inc.,448U.S.at595). There
    isalso a well-recognized çç'community therapeutic value'to having an open proceeding,because

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    ofthe concerns and em otions ofmem bers ofthe public who have been affeded by a crim e or

    crim es.''RichmondNewspapers,Inc.,448 U.S.at570.

           ln light of this strong interest in public access to crim inalproceedings,the Eleventh

    Circuit has instructed that the district courts m ust m ake substantial findings before sealing

    records in criminalcases before it.For instance,in United States v.Ochoa-vasque,428 F.3d

    1015 (11thcir.2005),the Eleventh Circuitreversed an orderfrom this Courtthathad sealed
    pleadings in a crim inal case, em phasizing the im portance of the public's historic First

    Amendment right of access to the courts.To justify sealing,Gta courtmust articulate the
    oveniding interest along with findings specific enough that a reviewing cottrtcan determine

    whether the closure orderw asproperly entered.'' 1d.at1030.

           H ere there isno oveniding interestin keeping the pleadings secret.To the contrary,there

    is an overriding interestin having these m atters exposed to public light. There isconsiderable

    public interestin the question ofhow a serialchild molester could arrange such a lenientplea

    agreem entwith the U.S.Attorney'sOftice. And,m ore im portantly,there isgreatpublic interest

    in how he could have received immunity fora multitude of sex crimeswhile hisvictims were

    underthe m istaken beliefthathe was being prosecuted the way any otherperson would have

    been. There haslong been suspicion thatJeffrey Epstein was receiving favorable treatm entin

    the criminal investigation because of his wealth and power. See, e.g., Abby Goodnough,

    Questions of PreferentialTreatmentAre Raised in Florida Sex Case,N.Y.TIMES,Sept.3,
    2006,at19 (notingquestionsthatthepublichad been leftttto wonderwhetherthesystem tilted
    in favorofa wealthy,well-colm ected alleged perpetratorand againstvery young girlswho are

    alleged victimsof sex crimes'). Indeed,the interestin the matterisstrong enough thatthe
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    widely-viewed televisionprogram ftzw and Order:SpecialVictim Unitdevoted an episode to the

    case, suggesting in its plot that federal government had intervened improperly to prevent

    effective prosecution.See Law & Order Commemorates Jcf//-e.v Epstein's Taste for Teen
    Hookers,      http://gawker.coe #ls7slog4/law--order-commemorates-jeffrey-epsteins-taste-for-
    teen-hookers.

           The public interest in this case also relates to Epstein's political and Enancial
    connections. Forexample,theFinancialTimes reported on July 21,2011,thatçtprince Andrew

    istostepdown asBritain'sspecialrepresentativefortradeandinvestment,justfivemonthsafter
    being atthe centre of a m edia tirestonn over his links to Jeffrey Epstein a US businessm an

    convicted     of   sex   offences.''    http://-   .R.co* cms/s/0/78dba2c2-b383-11e0-b56c-

    ool44feabdco.html#u zz3lRjGpH6l. The American media, too,has commented on these
    relations. See,e.g.,JoseLambiet,Prince'
                                          sFriendship with Pedophile CausesFurorAcross the

    Pond,PALM BEACH POST,M ar.9,20l1,at2B.

           In light of al1 this interest, it appears that Epstein's m otivation in keeping entire

    ttdocum ents'' sealed is to block the public from learning about what happened during the

    investigation of his crim es,rather than any legitim ate purpose. The Courtshould not prevent

    public scrutiny ofthis case by departing from its norm alrules and placing criticaldocum ents

    tm derseal.

    111.   EPSTEIN H A S FA ILED TO ESTA BL ISH EITH ER A LEG A L BA SIS O R
           FA CTU AL RG O O D CA U SE''FO R A PR O TEC TIV E O R DER .

           Epstein claim sthathecan establish som esortofçtgood cause''foraprotective order. But

    hisargum entson thispointlack alegalbasisand arefactually far-fetched.


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           W ith regard to the legalbasisforhis motion,Epstein citesRule 26(c)ofthe Federal
    Rules of Civil Procedure. D E 247 at 1. But that rule has absolutely no bearing on the

    correspondenceatissue. Rule26(c)applies,byitsplain terms,to tilaqpartyoranypeïsonkom
    whom discovery is soughtm ay m ove fora protective order....'' Fed.R.Civ.P.26(c)(emphasis

    added). Epstein has not been asked to produce any correspondence. Rather,the victim s'
    discovery request has been directed to the U .S.A ttorney's O ffice for the Southern D istrict of

    Florida. And itwasthatOftice thatproduced the correspondence. This factsimply highlights

    the non-confidentialnature ofthe correspondence. lf Epstein did notwantsom ething revealed,

    then he should have told his attorneys to keep it out of their correspondence sent to the

    prosecutors.
           W ith regard to the factual basis for his m otion, Epstein contends that his defense

    attonwys' çllengthy arguments m ay or may not have had any intluence on the government's

    decision making and,therefore,their relevance is particularly remote.'' DE 247-7. Butthe

    victim s have argued precisely the contrary. For exnmple,the victims' summary judgment

    m otion alleges that Epstein's defense attorneys insisted on, and obtained,a confidentiality

    provision in thenon-prosecution agreem entthatblocked discloslzreofitto thevictims. DE 48at

         The motion also alleges that because of pressure from Epstein's defense attorneys,the

    Govem mentstopped makingvictim notifications.ld at13. In shozt whatthe defenseattorneys

    and prosecutors discussed and agreed to lies atthe heartofthis case.

           The2014 correspondencethatthevictimshavejustreceivedmakesclear(in theirview)
    thattheirallegations are well-founded. By way ofexample,here are a few excerpts from the



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    correspondence w here M r.Epstein's attorneys urged the U nited States A ttorney's office against

    notifying the victim s -an effortthatw asultim ately successful:

                Jay Lelkowitz,on behalfofJeffrey Epstein,wrote to Alex A costa on October 10,2007:

    ltc om m unication to ldentified Individuals-''il...N either federal agents nor anyone from your

    Oftk e should contact the identitied victim s to inform them of the resolution of the case,

    including appointm entoftheattorney representative and the settlementprocess.Notonly would

    thatviolate the confidentiality of the A greem ent,butM r.Epstein also w illhave no controlover

    w hat is com m unicated to the identified individuals atthis m ost critical stage. W e believe it is

    essentialthat w e participate in crafting a m utually acceptable com m unication to the identified

    individuals.''

                In another letter from Jay Lefkowitz to Alex Acosta,this one dated N ovem ber 29,2007,

    he writes,ttMbre fundamentally,we don'tunderstand the basisforyourOftk e's beliefthatitis

    appropriate forany letterto be sentto these individuals atthis stage - before M r.Epstein has

    eitherentered a plea orbeen sentenced. W e respectfully disagree with yourview thatyou are

     required to notify the alleged victim s pursuantto the Justice for A 1lA ct of2004.'' Later in that

     snm e letter, Letkow itz addresses the U nited States A ttorney's O ftice's suggestion that the

     victim s should have the rightto be heard atany plea or sentencing,and in response he m ites,
    Eû
      . ..   encouraging these individuals to participate in the state sentencing w ill have the effect of

     creating a m edia frenzy that w ill stlrely im pact the sentence M r. Epstein received - precisely

    w hatyourO ffice prom ised to avoid.''

                Continuing to lobby the United StatesAttorney'sOffice againstinvolving the victim sin

    theprocess,in a December 11,2007 letterto Acosta,Letkowitz wrote,IIC.RightoftheAlleged

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    Victim s to be Notified: As we have expressed to you previously,we do notagree with your

    O ftice's assertion that it is either an obligation and even appropriate for the U SA O to send a

    victim notificationletterto theallegedvictims.''Hecontinues,GtYourinterpretation ofj3771is
    erroneousbecause thezightsconferred by statuteindicatethatthese rightsare forthenotifkation

    and appearance atpublic proceedingsinvolving the crim e forwhich the relevantindividualisa

    victim . A syou know ,the public proceeding in thismatterwillbe in state courtforthe purpose

    oftheentry ofa plea on statecharges. Therefore,18 U.S.C.j3771 clearly doesnotapply to
    ûçvictim s''who are notstate ltvictim s.''''

            On D ecem ber 26, 2007, Letkowitz sent a lengthy letter to A costa, in relevant part,

    explaining,çl-
                 l-
                  he A ttorney GeneralGuidelines caution federalprosecutors from providing notice

    to potentialwitnesses in instances where such notice could com promise the defendant's due

    process rights. This is particularly tnle,as here,if the notice includes confidentialinform ation,

    including the conditionsofthe confidentialdeferred-prosecution agreementornon-prosecution

    agreem ent. In light of these concem s,we respectfully request that you reconsider sending

    noticestotheallegedvictimspursuantto j3771.''
            In addition to providing insightinto the efforts ofthe defense attorneys to exclude the

    victim s from the processentirely,there isalso extensive communication regarding the extreme

    effortstaken to preventthepublic from learning ofthe plea as well. In fact,on Septem ber24,

    2007,Lefkowitz sentan emailto theUnited StatesAttorney'sOffice with a one-linem essage -

    çtpleasedo whateveryou cantokeep thisfrom becom ing public.''

            It seems Epstein's motives in his motion for protective order remain the same as they

    were during hisnegotiation with the Government- preventthe public from knowing whatthey,

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    in concertw ith the govelmm ent,successfully prevented the victim s and the public from know ing

    thefirsttim e. In an effortto show some sortofgood causeforhisorder,Epstein allegesthatthe

    victim s' counselhave m ade çlinflam m atory statem ents''aboutthe case. D E 247 at 8. But the

    illustrationsthatEpstein providesdo notshow statem entsm adeto inllam e,butratherstatem ents

    made to inform . FOr example, Epstein com plains about the m edia çlquoting''the victim s'

    pleadings or about victims' cotm sel hoping that the case w ill llinspire'' victim s to report
     sex offenses. DE 247 at8-9. These are notim proper statem ents. To the extentthey related to

    Epstein, they sim ply provide information to the public about what is happening in this

    com plicated proceeding - arld sim ply sllm m arize public record m aterials.Indeed,the new spaper

    articlesthatEpstein attachesshow many quotationsfrom Epstein'sdefense attorneysdiscussing

    the case aswell. The statementsmade by both victim scounseland defense counselare proper,

    because the Rules of Professional Conduct plainly allow discussion with the m edia about

    ûlinfonnationcontainedin apublicrecord.''ABA R.Prof.Conduct3.6(a)(2).
           Epstein also complains about his name being Gûdragged through the m etaphoricalmud

    before ajuly hasmade any determination ofwrongdoing.'' DE 247 at 12 (internalquotation
    omitted). Butin thiscase,Epstein hasalready admitted ççwrongdoing''- by entering a plea
    agreem ent to state sex felonies and then securing a non-prosecution agreem ent to resolve his

    criminalexposurefordozensofothersex offenses(atleastinthisjudicialdistrict). Partofthat
    plea agreem ent required him to register as a sex offender. H e currently appears in the Florida

    sex offender registry. See hlp://offender.fdle.state.i.us/offender/fyer.do?personld=6z76z.

    W hatEpstein isreally complaining aboutisnotthepublicity associated with thevictim s'CVRA

    lawsuit,butratherthefactofthevictims'lawsuit. Having used hisvastresotzrcesto securea
                                                   15
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    favorable plea agreem ent,Epstein does notw ant anyone to be able to publicly suggestthatthis

    plea agreem entwastmduly lenientand keptsecretfrom victim s who m ighthave been able to

    objectand block it.Butthatiswhatthevictimshavealleged,indetail,intheirpleadingstothis
    Court- and the evidence in supportoftheirallegationsis continuously mounting,as the 2014

    correspondence abundantly suggests. There is no ltgood cause'' for keeping the victim s'

    allegations- and theirsupporting evidence- shrouded in secrecy underaprotective order.

      1V . TH E PR O TEC TIV E O RD ER TH A T EPSTEIN PR O PO SES W O UL D PR O D U CE
           C O N SIDER AB LE U ND ERTA INTY A ND FO LLO W -O N LITIG A TIO N .

           In addition to blocking public accessto information aboutthis case,Epstein'sproposed

    protective orderis so nmbiguously drafted thatitwould spawn al1sorts offollow-on litigation.

    lndeed,counselfor the victim s w onder whether that is Epstein's goal:to divertthe tim e and

    attention ofthe victims tand the Court)away from the meritsof the case and into satellite
    litigation aboutcompliancewith theprotectiveorder.

           Thepotentialambiguitiestheprotective would create arelegion. W e listjusta few of
    them hereto illustratetheproblems.

           Forstarter,theproposed protective ordercontains allsortsofboilerplate language about

    thetûparties''tothecasehavingto comply. See,e.g.,DE 247-1at3,5 5(v)(b)(çW 1lpartiesand
    theirrespective cotmsel...shalltake allstepsreasonably necessary to preventdiscloslzre ofthe

    (correspondencej....'')(emphasisadded).Andyet,Epsteinisnotalûparty''tothiscase.Heisa
    ûtlim ited intervenor-'' The extentto which the term s ofthe agreem entapply to an intervenor is

    tmcertain.




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           The next problem is that the proposed order applies to tEcorrespondence betw een the

    United StatesAttorney'sOftkeandthelntervenors.'' DE 247-1at3,! 1. lfwetmderstandthe
    the current posttlre of this case correctly, the tilntervenors'' who would have protected

    correspondence are only three persons:Jeffrey Epstein,R oy Black,and M artin W einberg. See

    DE 247 (describing theintervenorsasEpstein,Black,and W einberg). Butthevastbulk ofthe
    correspondence wasnotgenerated by these threepeople. Ofcotlrse,noneofthe correspondence

    bearsEpstein'snam eon it.And asforattorneysBlack and W einberg,they appearto have been

    involved in atinyfraction ofthecorrespondence (ifany).Thevastbulk ofthecorrespondence
    wasdrafted by otherattorneys,including Kenneth W .Stam Jay P.Letkowitz,Gerald P Lefcourq

    Alan Dershowitz,Joe D.W hitley,Stephanie D.Thacker,and Lilly AM Sanchez. ltisnotclear

    whetherthemotion isdesignedto coverthesepersonsand,ifso,whatstanding Roy Black (for
    instance)wouldhavetobelitigatingissuespertainingto,forexample,correspondencewrittenby
    Kenneth W .Starr.
           The protective order willalso create delay and questions about briefing schedules. The

    protectiveorderpurportsto establish aneed foracourthearing every time apleading isfled that

    toucheson iûcontidential''material. In fact,itseem sto operate to çûtoll''briefing on substantive

    questions. See DE 247-1 at3,! 12(b)(aherfiling ofpleading with protected material,the
    tumotion tiling and brieting schedule shallbe a4iusted and tolled to provide sufticienttimefor
    theCourtto considerand rule on themotion seeking pennission to tslethedocumentts)under

    Sea1.'').
            A1ltheseambiguitiesare sureto createabundantlitigation- asajustaquickperusalof
    Epstein'slitigation tacticsin thiscase in the pastwillattest. A nd to whatend? Both thisCourt

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    and the 11th Circuit have rejected Epstein's argtunents that the correspondence somehow
    contains any ttconfidential''m aterial. See,e.g.,In re Roy Black etal.,N o.13-12923,slip op.at

    20(April18,2014)(çû-l-heconjunctivepoweroftlzreefalseclaimsofprivilege(by Epsteinjdoes
    notrescuethecorrespondencefrom disclosure.''). No confidentialrelationship existsbetween
    prosecutors and defense adorneys. There is simply no reason for the Courtto departfrom its

    ordinary rules and the 1aw ofthe case.

           To be clear,the victim s are notseeking to sim ply release the discovery in this case to

    anyone thatthey w ant. Instead,a1lthatthe victim s ask is to be able to litigate their case in the

    ordinary,public fashion thatthe Courtfollows for vastmajority ofits cases;by filing their
    pleadingsin the open courtfile.

                                             C O N C LU SIO N

           TheCourtshoulddenyEpstein'smotionforaprotectiveorder(DE 247).
           DA TED :M ay 16.2014

                                                         Respectfully Subm itted,

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           4The daytime business address indicated above is for identification purposes and does
    notimply institutionalendorsementby the University ofUtah ofthe legalpositionsadvanced in
    thispleading.
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                                   CER TIFIC AT E O F SERV ICE

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